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4                                   UNITED STATES DISTRICT COURT

5                            FOR THE EASTERN DISTRICT OF CALIFORNIA

6
     UNITED STATED OF AMERICA,                                 Case No. 1:19-CR-0014 DAD BAM
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                    Plaintiff,                                 ORDER ON DEFENDANT’S MOTION FOR
8                                                              RECONSIDERATION
            v.
9                                                              ECF No. 106
     ENRIQUE LOPEZ,
10
                    Defendant.
11
                                                      /
12
13          Defendant Enrique Lopez (“Defendant”) is charged by superseding indictment with conspiracy to
14   commit armed bank robbery in Count One, attempted armed bank robbery in Count Two, and carrying a
15   firearm during and in relation to a crime of violence in Count Three. (Doc. 77.) On August 16, 2019,
16   Defendant Lopez filed a motion for discovery of proffers made to the government by the cooperating
17   witness or his counsel leading to the agreement to cooperate, including information about the
18   negotiations. Defendant contended the proffers by the cooperator’s attorney are exculpatory evidence
19   which should be produced under Brady. On November 13, 2019, the Court denied Defendant’s motion
20   for discovery of proffer evidence. (Doc. 104.)
21          Defendant filed a motion for reconsideration on November 20, 2019. Defendant asks the court to
22   reconsider that the proffer evidence is indeed exculpatory evidence.
23          Pursuant to this Court's Local Rules, when filing a motion for reconsideration of an order, a
24   party must show “what new or different facts or circumstances are claimed to exist that did not exist or
25   were not shown upon such prior motion, or what other grounds exist for the motion.” Local Rule
26   430.1(i).
27                                                        1
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1             Defendant’s motion for reconsideration again argues that the proffer evidence is exculpatory of

2    the attempted robbery charge. Defendant argues that no evidence disclosed in the case shows that

3    Defendant got out of the car, approached the bank, or pointed a firearm. (Doc. 106, p.2.) Defendant

4    argues that these facts “are exculpatory facts because even if true they do not amount to attempted

5    bank robbery in the Ninth Circuit.” Id. (citing cases). Defendant “renews his request for proffers

6    made to the government on behalf of the cooperating informant by his attorneys.” Id.

7             The motion for reconsideration, however, is based on Defendant’s disagreement with the

8    Court's decision on the merits and application of the law to his motion for discovery of proffer

9    evidence. Defendant has not presented any new or different facts from which the Court should

10   reconsider its prior ruling. Defendant’s re-argument of the position he took in his original motion is

11   not a sufficient basis for reconsideration.1

12            Conclusion and Order

13            For the reasons stated above, Defendant’s motion for reconsideration is DENIED. The

14   hearing set for December 9, 2019 on the motion for reconsideration is VACATED. The status

15   conference set for December 9, 2019 at 1:00 p.m. remains as previously set.

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17   IT IS SO ORDERED.

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           Dated:    November 22, 2019                        /s/ Barbara A. McAuliffe               _
19                                                      UNITED STATES MAGISTRATE JUDGE
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         Defendant may have the option of appealing this court’s decision under Local Rule 430.1(j).
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